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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            3:23-CV-03995-RK-TJB

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Nydia Pena
 was recieved by me on 8/24/2023:

          X                         I personally served the summons on the individual at 52 Throckmorton Street, Freehold, NJ 07728 on 08/28/2023 at
                                    12:00 PM; or

                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
                                    of organization); or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 105.00 for services, for a total of $ 105.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   08/30/2023
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 John Diaraneo
                                                                                                                                                 Printed name and title



                                                                                                            98C Edinburgh Ln
                                                                                                            Lakewood, NJ 08701


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Nydia Pena with identity confirmed by subject stating their name. The individual
           accepted service with direct delivery. The individual appeared to be a brown-haired Hispanic female contact 55-65
           years of age, 5'-5'4" tall and weighing 140-160 lbs with an accent.




                                                                                                                                                               Tracking #: 0113231646
